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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

L A APPAREL, INC,, a/k/a
LA APPAREL, INC.,
Petitioner, : Case No. 3:21-mc-00285
v. :
Judge Mannion
STRAIGHT A COMPANY, LP,
Respondent. : Electronically Filed

STIPULATION OF DISCONTINUANCE WITH PREJUDICE

IT IS HEREBY STIPULATED AND AGREED by and between the
undersigned, the attorneys of record for the parties to the above-entitled action, that
whereas no person not a party has an interest in the subject matter of this action, that
all claims in this action asserted by either of the parties hereto, be, and the same
hereby are, discontinued with prejudice, without costs or attorneys’ fees to either
party as against the other;

AND IT IS FURTHER STIPULATED AND AGREED that this
Stipulation may be executed in counterparts and filed with the Clerk of the Court
without further notice, and that signatures obtained via facsimile or pdf shall have

the same force and effect as original signatures.
Case 3:21-mc-00285-MEM Document38 _ Filed 05/15/23 Page 2 of 2

Dated: May 11, 2023

SO ORDERED:

bind

Date:

ACHY E. MANNION
TATES DISTRICT JUDGE

“Sebe

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